Case 2:02-cv-02920-.]DB-dkv Document 173 Filed 05/19/05 Page 1 of 2 Page|D 198

rN THE UNITED sTA'rEs DrsTchT coURT
FoR THE WESTERN DISTRICT oF TENNESSEE 35 l"§§`§' §§ §§§ e`= 55

 

 

 

WESTERN DIVISION
JERRY L. BILLINGSLEY,
Plaintift`,
v. No. 02-2920 B
SHELBY COUNTY, et al.,
Defendants.
ORDER OF REFERENCE

 

Before the Court is the Decernber 2], 2004 motion of the Det`endants, J. Ford and Jon
Kirkland, for clarification of this case as a non~jury matter, filed at Doc. No. 105, Which is hereby
referred to the United States Magistrate Judge for determination Any objections to the magistrate
judge's order shall be made within ten (lO) days after service of the order, setting forth particularly
those portions of the order objected to and the reasons for the objectionsl Failure to timely assign

as error a defect in the magistrate judge's order will constitute a waiver of that objection g Fed.

R. Civ. P. 72(a).
4
IT IS SO ORDERED this /_S__ day ofl\/Iay, 2005.

 

.DA IEL BREEN \
ir D sTATEs Drsrchr JUDGE

This document entered on the docket heat §§p|lanee
With F§ule 53 and/or 79(a) FF§CP on ,E; l j 2

 

 

ISTCRIT oF TNNEESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 173 in
case 2:02-CV-02920 Was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listed.

 

Dedrick Brittenum

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC

One Commerce Square
Ste. 2000
l\/lemphis7 TN 38103

J. Phillip Kerley

BREAKSTONE & ASSOCIATES
200 Jefferson Ave.

Ste. #725

l\/lemphis7 TN 38103

Deborah A. GodWin

GODWIN MORRIS LAURENZI & BLOOl\/[FIELD, P.C.

50 N. Front St.
Ste. 800
l\/lemphis7 TN 38103

Jerry L. Billingsley
1670 Altavista
l\/lemphis7 TN 3 8127

Betsy McKinney

GODWIN MORRIS LAURENZI & BLOOl\/[FIELD, P.C.

50 N. Front St.
Ste. 800
l\/lemphis7 TN 38103

Henry L. Klein

APPERSON CRUl\/[P & MAXWELL, PLC
6000 Poplar Ave.

Ste. 400

l\/leniphis7 TN 38l 19--397

Honorable J. Breen
US DISTRICT COURT

